Case 1:19-cv-02871-SKC Document 14 Filed 10/25/19 USDC Colorado Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                           U.S. Magistrate Judge S. Kato Crews


Civil Action No. 1:19-cv-02871-SKC

ETHEL SUSANNE HALTER,

       Plaintiff,

v.

WELD COUNTY SHERIFF’S OFFICE,
DOES 1 – X INFINATE, and
ROES 1 – X INFINATE,

       Defendants.

______________________________________________________________________

           NOTICE REGARDING AVAILABILITY OF PRO SE CLINIC
                  AND AVAILABLE COURT RESOURCES
______________________________________________________________________

       To ensure the efficient and effective litigation of civil cases with pro se litigants, the

Court finds it necessary to issue this notice of the resources available to pro se litigants.

Pro se parties should understand that this is not an exhaustive list of all resources

available to a litigant in civil cases. Therefore, these resources should not be relied on as

the sole source for a pro se party’s litigation needs. Instead, it is a pro se party’s duty to

diligently participate in this action using their own resources to meet their litigation needs.

                                FEDERAL PRO SE CLINIC

       In June 2018, the Federal District Court and the Colorado Bar Association opened

the Federal Pro Se Clinic. The Clinic is staffed by a full-time attorney who will provide free

“limited scope” legal advice to non-prisoner, pro se litigants with the following types of




                                               1
Case 1:19-cv-02871-SKC Document 14 Filed 10/25/19 USDC Colorado Page 2 of 3




cases pending before the federal court: civil rights; labor and employment law; contracts;

personal injury; and other areas of federal and state law. Advice may consist of

explanations of legal rights, assistance with drafting pleadings and discovery, interpreting

and explaining rules and procedures, reviewing and explaining motions and court orders,

and referrals to other resources in appropriate cases. Clinic staff will not appear in court

on behalf of a pro se litigant, but rather, will meet with pro se litigants to provide guidance,

where appropriate.

       The Court strongly encourages all pro se litigants to contact the Federal Pro Se

Clinic at (303) 380-8786 or https://www.cobar.org/cofederalproseclinic for applicable

assistance in any matter in which a party proceeds without an attorney. The Clinic website

contains intake forms, useful information regarding self-representation, and information

on applying for the appointment of pro bono counsel from the Civil Pro Bono Panel. The

Clinic is located on the first floor of the Alfred A. Arraj United States Courthouse, 901 19th

Street, Denver, CO 80294. The Clinic has limited hours, and therefore, pro se parties are

encouraged to check the Clinic’s hours of operation before visiting the Clinic.

                                  DISCOVERY DISPUTES

       Once the parties begin discovery in a case, there may be disagreements between

the pro se litigant and opposing counsel about the information being sought. Should a

dispute arise, the parties shall follow the instructions set out in Magistrate Judge Crews’

Discovery Procedures for Pro Se Civil Cases. These instructions can be found on the

Court’s website at the link below:




                                               2
Case 1:19-cv-02871-SKC Document 14 Filed 10/25/19 USDC Colorado Page 3 of 3




http://www.cod.uscourts.gov/Portals/0/Documents/Judges/SKC/SKC_Pro_Se_Discovery

_Instructions.pdf.

                            ADDITIONAL INFORMATION

       Additional information about representing yourself in court may be found on the

United States District Court for the District of Colorado’s website at the link below:

http://www.cod.uscourts.gov/RepresentingYourself.aspx.



       DATED: October 25, 2019

                                              BY THE COURT:



                                              ________________________________
                                              S. Kato Crews
                                              United States Magistrate Judge




                                          3
